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 1   BENJAMIN A. EMMERT (SBN 212157)             SEAN E. O’DONNELL (SBN 2907186)
     LITTLER MENDELSON, P.C.                     PATRICK M. JOHNSON (SBN 5419221)
 2   50 West San Fernando Street, 7th Floor      DANIEL A. FIELD (SBN 5533526)
     San Jose, CA 95113-2303                     HERRICK, FEINSTEIN LLP
 3   Telephone:   (408) 998-4150                 Two Park Avenue
     Fax No.:     (408) 288-5686                 New York, NY 10016
 4   Email:       bemmert@littler.com            Telephone: (212) 592-1581
                                                 Email: sodonnell@herrick.com
 5                                                      pjohnson@herrick.com
     DOUGLAS A. WICKHAM (SBN 127268)                    dfield@herrick.com
 6   HELEN BRAGINSKY (SBN 282359(                Appearances pro hac vice
     LITTLER MENDELSON, P.C.
 7   633 West Fifth Street, 63rd Floor           STEVEN L. FRIEDLANDER (SBN 154146)
     Los Angeles, CA 90071-3541                  TATYANA SHMYGOL (SBN 267104)
 8   Telephone:    (213) 343-4300                SV EMPLOYMENT LAW FIRM PC
     Fax No.:      (213) 443-4299                160 Bovet Road, Suite 401
 9   Email:        dwickham@littler.com          San Mateo, CA 94402
                   hbradinsky@littler.com        Telephone:   (650) 265-0222
10                                               Facsimile:   (650) 265-0223
     Attorneys for Plaintiff                     Email:       sfriedlander@svelf.com
11   JLT SPECIALTY INSURANCE                                  tshmygol@svelf.com
     SERVICES INC.
12                                               Attorneys for Defendants
                                                 GARY PESTANA, SARAH SHERMAN.
13                                               DUSTIN SMITH and RAMY MORCOS

14
                                UNITED STATES DISTRICT COURT
15
                              NORTHERN DISTRICT OF CALIFORNIA
16
                                      SAN FRANCISCO DIVISION
17
                                                CASE NO. 3:19-cv-02427
     JLT SPECIALTY INSURANCE
18   SERVICES INC., a Delaware                  JOINT STATUS REPORT
     corporation,
19
                         Plaintiff,
20
           v.
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22   GARY PESTANA, an individual;
     SARAH SHERMAN, an individual;
23   DUSTIN SMITH, an individual; and
     RAMY MORCOS, an individual,
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                         Defendants.
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     JOINT STATUS REPORT                                           CASE NO. 3:19-cv-02427
          Case 3:19-cv-02427-MMC Document 76 Filed 12/18/19 Page 2 of 3



 1                   Counsel for plaintiff JLT Specialty Insurance Services, Inc. and counsel for defendants

 2   Gary Pestana, Sarah Sherman, Dustin Smith, and Ramy Morcos (collectively with Plaintiff, the

 3   “Parties”) have met and conferred and prepared the following Joint Status Report pursuant to this

 4   Court’s October 18, 2019 Order.

 5           1.      THE PARTIES’ STATEMENT
 6                   Following the Parties’ November 20, 2019 Settlement Conference, the Parties have

 7   continued to engage in settlement discussions, and have agreed in principle to settle the instant action

 8   in its entirety, subject to entering into an integrated settlement contract and finalizing various ancillary

 9   deal terms. Accordingly, the parties are in the process of preparing stipulations staying the instant

10   litigation and a related case pending in New York. While the Parties’ various discovery disputes

11   (including the issues identified in Defendants’ Motion to Compel (ECF No. 50) and Defendants’

12   Motion for Sanctions and Order Prohibiting Plaintiff from further Violating the Protective Order (ECF

13   No. 69)) remain unresolved, in light of the Parties’ anticipated settlement, the Parties respectfully

14   request that for the next 60 days the Court hold in abeyance all deadlines until a formal settlement can

15   be reached and the Parties file a formal Notice of Discontinuance with the Court.

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     Respectfully submitted,
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      Dated: December 18, 2019
19                                                                        /s/ Benjamin A. Emmert
                                                              BENJAMIN A. EMMERT
20                                                            LITTLER MENDELSON, P.C.
                                                              Attorneys for Plaintiff
21                                                            JLT Specialty Insurance Services, Inc.

22     Dated: December 18, 2019                               HERRICK, FEINSTEIN, LLP
23
                                                                         /s/ Sean E. O’Donnell
24                                                                      SEAN E. O’DONNELL
                                                                        PATRICK M JOHNSON
25                                                                        DANIEL A FIELD
26                                                            Attorneys for Defendants GARY PESTANA,
                                                              SARAH SHERMAN, DUSTIN SMITH, AND
27                                                            RAMY MORCOS
                                                              Appearances pro hac vice
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                                                         1.
      JOINT STATUS REPORT                                                         CASE NO. 3:19-cv-02427
          Case 3:19-cv-02427-MMC Document 76 Filed 12/18/19 Page 3 of 3



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 2                                                          SV EMPLOYMENT LAW FIRM PC
 3
                                                            By:    /s/ Tatyana A. Shmygol_______
 4                                                                  STEVEN L. FRIEDLANDER
                                                                       TATYANA SHMYGOL
 5
                                                            Attorneys for Defendants GARY PESTANA,
 6                                                          SARAH SHERMAN. DUSTIN SMITH and
                                                            RAMY MORCOS
 7

 8
                                       SIGNATURE ATTESTATION
 9
                    I hereby attest that all signatories listed above, on whose behalf this Joint Report is
10
     submitted, concur in the filing’s content and have authorized the filing.
11

12    Dated: December 18, 2019

13

14                                                            /s/ Tatyana Shmygol
                                                     TATYANA SHMYGOL
15                                                   SV EMPLOYMENT LAW FIRM PC

16                                                   Attorneys for Defendants
                                                     Gary Pestana, Sarah Sherman, Dustin Smith, and
17                                                   Ramy Morcos

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                                                       2.
      JOINT STATUS REPORT                                                        CASE NO. 3:19-cv-02427
